Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 1 of 8 Page ID #:1583



   1   Staci Jennifer Riordan (SBN 232659)
       sriordan@nixonpeabody.com
   2   Aaron M. Brian (SBN 213191)
       abrian@nixonpeabody.com
   3   NIXON PEABODY, LLP
       300 South Grand Ave., Suite 4100
   4   Los Angeles, CA 90071
       Telephone: (213) 629-6000
   5   Facsimile: (213) 629-6001
   6   Attorneys for Plaintiffs
       SFO TECHNOLOGIES, PRIVATE LTD.,
   7   SFO TECH, INC.
   8                             UNITED STATES DISTRICT COURT
   9                            CENTRAL DISTRICT OF CALIFORNIA
 10
 11     SFO TECHNOLOGIES; PRIVATE                      Case No. 2:19-cv-006674-JAK-E
        LTD.; SFO TECH, INC.,
 12
                          Plaintiffs,                  Declaration of Faisal M. Gill
 13
                   vs.
 14                                                    Date:      September 27, 2021
        BRIAN SHANE; RICHARD                           Time:      8:30 a.m.
 15     SHANE; DAVID SHANE; JULIE
        SHANE and KIRK WALDRON,                        Courtroom: 10B
 16
                          Defendants.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                     Case No. 2:19-cv-06674-JAK-E
                                        DECLARATION OF FAISAL M. GILL
       4830-1423-0509.1
     Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 2 of 8 Page ID #:1584




 1          I, Faisal M. Gill, hereby declare:
 2
            1. I am over the age of eighteen (18) years of age.
 3
            2. I was counsel to the SFO parties in the underlying arbitration until
 4
               January 2021.
 5
            3. I produced the Qual Pro December 2017 inventory report to counsel for
 6
               the Shane parties in October 2020.
 7
            4. In response to our request for records from HCVT, the company that
 8
               audited Qual-Pro for year 2016, HCVT stated they would not respond
 9             without getting authorizations from the selling parties (i.e., the
               Defendants in this action.)
10
11          5. Attached as Exhibit 1 is a true and correct copy of my email
               communications with representatives of HCVT, running through
12
               December 29, 2020. At no point before or after these communications
13             did HCVT produce any documents concerning the 2016 audit of Qual-
               Pro.
14
15          I declare under penalty of perjury that the foregoing is true and correct.
16
            Executed this 6th day of July 2021 in Los Angeles, CA.
17
18
                                                    ___________________________
19                                                  Faisal M. Gill
20
21
22
23
24
25
26
27                                     2
      __________________________________________________________________
28    ___________
                       DECLARATION OF FAISAL M. GILL
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 3 of 8 Page ID #:1585




                         EXHIBIT 1
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 4 of 8 Page ID #:1586
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 5 of 8 Page ID #:1587
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 6 of 8 Page ID #:1588
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 7 of 8 Page ID #:1589
Case 2:19-cv-06674-JAK-E Document 42-2 Filed 07/06/21 Page 8 of 8 Page ID #:1590
